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                               UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

   INTELLECTUAL VENTURES II LLC,              §
                                              §
               Plaintiff                      §
                                              §
   v.                                         §
   _________________________________________ §
   SPRINT SPECTRUM L.P., NEXTEL               §            Civil Action No. 2:17-cv-662-JRG-RSP
   OPERATIONS, INC. ERICSSON INC.,            §            LEAD CASE
   TELEFONAKTIEBOLAGET LM ERICSSON,           §
   and ALCATEL-LUCENT USA, INC.,              §
                                              §
               Defendants.                    §
   _________________________________________ §
   T-MOBILE USA, INC., T-MOBILE US, INC.,     §             Civil Action No. 2:17-cv-661-JRG-RSP
   ERICSSON INC., and                         §
   TELEFONAKTIEBOLAGET LM ERICSSON,           §
                                              §
               Defendants,                    §
                                              §
   NOKIA OF AMERICA CORPORATION,              §
                                              §
               Intervenor.             ______

   JOINT MOTION TO DISMISS DEFENDANT NOKIA OF AMERICA CORPORATION
                       PURSUANT TO RULE 41(a)(2)

           Plaintiff Intellectual Ventures II, LLC (“Intellectual Ventures”) and Defendant/Intervenor

   Nokia of America Corporation1 (“Nokia”) hereby submit this motion and provide notice to the

   Court pursuant to Federal Rule of Civil Procedure 41(a)(2) and the Court’s Standing Order

   Regarding Dismissal Papers In Connection With Settlement. Intellectual Ventures and Nokia

   have reached a settlement in this matter. Specifically, Intellectual Ventures and Nokia have

   agreed to the following terms with respect to dismissal of claims against Nokia and claims

   involving Nokia products:


   1
       Nokia of America Corporation is the successor-in-interest to Alcatel-Lucent USA, Inc.
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           Intellectual Ventures and Nokia stipulate to the following:

           (a)    Dismissal with prejudice of all claims against Nokia as a party in the Sprint

                  litigation (Civil Action No. 2:17-cv-662); and

           (b)    Withdrawal of all infringement allegations in the T-Mobile Litigation (Civil

                  Action No. 2:17-cv-661) and Sprint Litigation (Civil Action No. 2:17-cv-662) for

                  which a Nokia product is alleged to satisfy any element of the asserted claim (including

                  where a step in a method claim is alleged to be performed by a Nokia product).

           As a result, Nokia products, either alone or in any accused combination where a Nokia

   product is alleged to satisfy any element of the asserted claim, are dismissed from the above-

   captioned lawsuits and no longer form a basis of any claim in such actions.

           Pursuant to Federal Rule of Civil Procedure 41(a)(2), Plaintiff IV and Defendant Nokia

   of America Corporation hereby jointly stipulate and move to dismiss all of Plaintiff’s claims

   against Nokia of America Corporation and Alcatel-Lucent USA, Inc. with prejudice. Plaintiff

   Intellectual Ventures and Defendant Nokia will each bear their own costs, expenses, and legal

   fees.

           Except as expressly set forth above, this joint motion does not affect, and Intellectual

   Ventures expressly reserves all rights with respect to, Intellectual Ventures’ claims against all

   Defendants in the above-captioned actions other than Nokia.




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   Dated: April 29, 2019                Respectfully submitted,

    /s/ Martin Black _w/ permission_______             /s/ David Nelson   w/ permission
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                                   CERTIFICATE OF SERVICE

          I hereby certify that counsel of record who are deemed to have consented to electronic

   service through the Court’s CM/ECF system under Local Rule CV-5(a)(3) are being served on April

   29, 2019, with a copy of this document via electronic mail.

                                                /s/ Brianne Straka
                                                Brianne M. Straka




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